               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JOAQUÍN   CARCAÑO;    PAYTON    GREY      )
MCGARRY; HUNTER SCHAFER; MADELINE         )
GOSS;   ANGELA   GILMORE;    QUINTON      )
HARPER;    and    AMERICAN     CIVIL      )
LIBERTIES UNION OF NORTH CAROLINA,        )
                                          )
                Plaintiffs,               )
                                          )
           v.                             )
                                          )        1:16cv236
ROY A. COOPER, III, in his official       )
capacity as Governor of North             )
Carolina;   UNIVERSITY   OF   NORTH       )
CAROLINA; DR. WILLIAM ROPER, in his       )
official capacity as President of         )
the University of North Carolina;         )
JOSHUA STEIN, in his official             )
capacity as Attorney General of           )
North Carolina; MACHELLE SANDERS,         )
in   her   official   capacity   as       )
Secretary of the North Carolina           )
Department of Administration; MANDY       )
K. COHEN, in her official capacity        )
as Secretary of the North Carolina        )
Department of Health and Human            )
Services; and JAMES H. TROGDON,           )
III, in his official capacity as          )
Secretary of the North Carolina           )
Department of Transportation,             )
                                          )
                Defendants,               )
                                          )
             and                          )
                                          )
PHIL BERGER, in his official              )
capacity as President Pro Tempore         )
of the North Carolina Senate; and         )
TIM   MOORE,   in   his  official         )
capacity as Speaker of the North          )
Carolina          House        of         )
Representatives,                          )
                                          )
   Intervenor-Defendants.




   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 1 of 23
                     MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

     Before   the   court   is   the       supplemental   joint   motion   of

Plaintiffs Joaquín Carcaño, Payton Grey McGarry, Hunter Schafer,

Madeline Goss, Angela Gilmore, Quinton Harper, and the American

Civil Liberties Union of North Carolina (together, “Plaintiffs”),

along with Defendants Governor Roy Cooper, Attorney General Joshua

Stein, and Secretaries Machelle Sanders, Mandy Cohen, and James

Trogdon (together, “Executive Branch Defendants”) for entry of a

proposed consent decree to resolve this lawsuit as between them.

(Doc. 289.)     Intervenor-Defendants Phil Berger, President Pro

Tempore of the North Carolina Senate, and Tim Moore, Speaker of

the North Carolina House, proceeding in their official capacities

as heads of the North Carolina General Assembly’s two chambers,

oppose the motion.1     (Doc. 292.)         The remaining Defendants, the

University of North Carolina (“UNC”) and its President, Dr. William

Roper2 (together, “UNC Defendants”), take no position.            (Doc. 288

at 3.)   For the reasons that follow, the motion will be granted.




1
  The legislators have been permitted to intervene to defend their
enactments pursuant to N.C. Gen. Stat. § 1-72.2.
2 Dr. William Roper has been substituted for former President Margaret
Spellings as a Defendant pursuant to Federal Rule of Civil Procedure
25(d). (Doc. 281.)

                                       2



    Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 2 of 23
I.    BACKGROUND

      This case has an extensive history that is more completely

recounted in the court’s earlier decisions.              See, e.g., (Doc. 248

at   4–14).     The     lawsuit   originated   as   a    challenge       to    North

Carolina’s Public Facilities Privacy & Security Act, 2016 N.C.

Sess. Laws 3, known as House Bill 2 (“HB2”), which required, among

other things, that public agencies ensure that multiple occupancy

restrooms, showers, and other similar facilities be “designated

for and only used by” persons based on the “biological sex” listed

on their birth certificate.           The court entered a preliminary

injunction, granting Plaintiffs’ request in part and denying it in

part, based on controlling precedent at the time.                   (Doc. 127.)

      During the pendency of the case and following substantial

economic and other pressures brought against the State as a result

of HB2, the North Carolina legislature enacted — and the newly-

elected Governor, Defendant Cooper, signed — 2017 N.C. Sess. Laws

4, known as House Bill 142 (“HB142”).          Section 1 of HB142 repealed

HB2, Section 2 bars state agencies from “regulati[ng] . . . access

to multiple occupancy restrooms, showers, or changing facilities,

except in accordance with an act of the General Assembly,” and

Section    3   prohibits     local   governments        from       “enact[ing]    or

amend[ing] an ordinance regulating private employment practices or

regulating     public    accommodations.”       Section        4    provides     that

Section 3 “expires on December 1, 2020.”

                                      3



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 3 of 23
       In the wake of the passage of HB142, the court dissolved its

preliminary injunction (Doc. 205), and Plaintiffs filed a Fourth

Amended     Complaint     (Doc.    210)       claiming   that    HB142    and    its

predecessor      HB2   violated     their      rights    under   the     Fourteenth

Amendment, Title IX of the Education Amendments of 1972, 20 U.S.C.

§ 1681 et seq. (“Title IX”), and Title VII of the Civil Rights Act

of 1964, 42 U.S.C. § 2000e et seq. (“Title VII”).3                     The Fourth

Amended Complaint contains over 400 detailed paragraphs recounting

the procedural history of the litigation as well as the myriad

actions that led to passage of HB142 and the concomitant repeal of

HB2.

       On October 18, 2017, Plaintiffs and the Executive Branch

Defendants moved jointly for entry of a consent decree.                         (Doc.

216.)     A few days later, the UNC Defendants filed a motion to

dismiss the lawsuit, as did Intervenor-Defendants.                In a September

30, 2018     Memorandum    Opinion and         Order (Doc. 248), the court

dismissed    a   number    of     Plaintiffs’     claims,    leaving      only   the

following: (1) Plaintiffs’ Title VII and Title IX nominal-damages

claims against UNC for the period in which HB2 was in force, as to


3Plaintiffs pleaded two sets of claims involving HB2: (1) nominal damages
claims against UNC for alleged Title VII and IX violations committed
during the period when HB2 was in force, and (2) constitutional
challenges to HB2 pleaded “solely in the event that the Court finds one
or more of HB142’s provisions unlawful and not severable from HB142’s
other provisions” (Doc. 233 at 42), in which case Plaintiffs allege that
HB142 should be struck down in its entirety, causing HB2 to spring back
into effect.


                                          4



    Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 4 of 23
which the court reserved ruling pending supplemental briefing; and

(2) Plaintiffs’ equal protection challenge to HB142 § 3, brought

against the Executive Branch Defendants, as to which the court

found that Plaintiffs had met their pleading burden.4            The court

also directed the parties to meet and confer as to the effect of

its dismissal ruling on the proposed consent decree.            (Id. at 63–

64.)

       As   directed,    the   parties   filed   supplemental     briefing

regarding the motions to dismiss Plaintiffs’ Title VII and Title

IX claims.     On December 21, 2018, Plaintiffs and the Executive

Branch Defendants filed a second joint motion for entry of consent

decree (Doc. 264), again opposed by Intervenor-Defendants.                On

April   23,   2019,     Intervenor-Defendants    filed   what   the   court

construed as an unopposed motion to stay the Title VII and Title

IX proceedings pending the Supreme Court’s review of Bostock v.

Clayton County Board of Commissioners, 723 F. App’x 964 (11th Cir.

2018), cert. granted, 139 S. Ct. 1599 (2019) (mem.) (whether Title

VII prohibits discrimination against an employee on the basis of

sexual orientation); Zarda v. Altitude Express, Inc., 883 F.3d 100

(2d Cir. 2018), cert. granted, 139 S. Ct. 1599 (2019) (mem.)

(same); and EEOC v. R.G. & G.R. Harris Funeral Homes, Inc., 884

F.3d 560 (6th Cir. 2018), cert. granted, 139 S. Ct. 1599 (2019)


4
  Plaintiffs’ contingent challenges to HB2, as referenced in footnote 3,
also remain.

                                     5



    Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 5 of 23
(mem.) (whether Title VII prohibits discrimination against an

employee on the basis of transgender status).            (Doc. 282.)

     The court held a hearing on the pending motions on May 17,

2019.   During the hearing, the court heard argument by Plaintiffs

and the Executive Branch Defendants as to the proposed terms of

the consent decree, as well as the objections of Intervenor-

Defendants.     The court also expressed its concerns as to certain

provisions of the proposed consent decree.           (Doc. 287.)       A few

days later, the court stayed all litigation as it pertains to

Plaintiffs’ remaining Title VII and Title IX claims and ordered

the parties to meet and confer in an attempt to resolve the

concerns raised at the hearing as to the terms of the proposed

consent decree.       (Doc. 286.)

     On   May   31,    2019,    Plaintiffs   and   the   Executive     Branch

Defendants filed the present supplemental joint motion for entry

of consent decree (Doc. 289), along with briefing (Docs. 290, 291)

and a revised proposed decree (Doc. 289-1). The parties also filed

a status report, as directed by the court, setting out the parties’

positions.        (Doc.     288.)     Intervenor-Defendants       filed     a

supplemental brief setting out their continued opposition to the

motion.   (Doc. 292.)     On July 17, 2019, the court held a telephone

hearing   regarding       the   revised   proposed   decree,    expressing

additional concerns.        Two days later, Plaintiffs filed a final

version of the proposed consent decree.        (Doc. 294-1.)     The motion

                                      6



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 6 of 23
is now ready for decision.

II.    ANALYSIS

       Plaintiffs and the Executive Branch Defendants move for entry

of a consent decree that would resolve all remaining claims against

the Executive Branch Defendants.5            (Doc. 289.)      The proposed

consent decree has four decretal paragraphs:

       (1)   With respect to public facilities that are subject
             to   Executive  Branch   Defendants’   control   or
             supervision, the Consent Parties   [6]
                                                     agree that
             nothing in Section 2 of H.B. 142 can be construed
             by the Executive Branch Defendants to prevent
             transgender people from lawfully using public
             facilities   in  accordance   with   their   gender
             identity. The Executive Branch Defendants as used
             in this paragraph shall include their successors,
             officers, and employees.     This Order does not
             preclude any of the Parties from challenging or
             acting in accordance with future legislation.

       (2)   The Executive Branch Defendants, in their official
             capacities, and all successors, officers, and
             employees are hereby permanently enjoined from
             applying Section 2 of H.B. 142 to bar, prohibit,
             block, deter, or impede any transgender individuals
             from using public facilities under any Executive
             Branch Defendant’s control or supervision, in
             accordance with the transgender individual’s gender
             identity.    Under the authority granted by the
             General Statutes existing as of December 21, 2018,
             and notwithstanding N.C.G.S. § 114-11.6,[7] the
             Executive Branch Defendants are enjoined from
             prosecuting an individual under Section 2 of H.B.

5
  The contingent claims against HB2 would be dismissed as well, leaving
only Plaintiffs’ Title VII and IX claims against the UNC Defendants,
which have been stayed. (Doc. 286.)
6
  The “Consent Parties” are defined as Plaintiffs and the Executive
Branch Defendants. (Doc. 294-1 at 3.)
7
  Section 114-11.6 creates a “Special Prosecution Division” within the
North Carolina Attorney General’s office.

                                      7



      Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 7 of 23
           142 for using public facilities under the control
           or supervision of the Executive Branch, when such
           otherwise lawful use conforms with the individual’s
           gender identity.

     (3)   The Consent Parties shall each bear their own fees,
           expenses, and costs with respect to all claims
           raised by Plaintiffs against the Executive Branch
           Defendants.

     (4)   All remaining claims filed by Plaintiffs against
           the Executive Branch Defendants in this action are
           hereby dismissed with prejudice.

(Doc. 294-1.)

     “A consent decree is a negotiated agreement that is entered

as a judgment of the court.”      Bragg v. Robertson, 83 F. Supp. 2d

713, 717 (S.D.W. Va. 2000).       Thus, while it is consensual, it

remains a judicial document.      Id. (“Approval of a consent decree

is a judicial act, committed to the informed discretion of the

trial court.”); United States v. Swift & Co., 286 U.S. 106, 114–

15 (1932).   A federal court only has the power to enter a consent

decree that “spring[s] from and serve[s] to resolve a dispute

within the court’s subject-matter jurisdiction.”          Local No. 93,

Int’l Ass’n of Firefighters v. City of Cleveland, 478 U.S. 501,

525 (1986); see also Pac. R.R. v. Ketchum, 101 U.S. 289, 297 (1897)

(requiring that a consent decree “comes within the general scope

of the case made by the pleadings”).       Before the court agrees to

enter a consent decree, it must ensure that the proposed decree

“is fair, adequate, and reasonable” as well as “not illegal, a

product of collusion, or against the public interest.”             United

                                   8



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 8 of 23
States v. North Carolina, 180 F.3d 574, 581 (4th Cir. 1999)

(quoting United States v. Colorado, 937 F.2d 505, 509 (10th Cir.

1991)).     While a federal district court “should not blindly accept

the terms of a proposed settlement,” it “should be guided by the

general principle that settlements are encouraged.”                  Id.

       Intervenor-Defendants argue that the terms of the proposed

decree exceed the court’s subject-matter jurisdiction and raise

“federalism and separation-of-powers concerns.”                  (Doc. 292 at 1–

2.)     These, and Intervenor-Defendants’ related contentions, are

addressed in turn.

       A.     Subject-Matter Jurisdiction

       Because the court must always assure itself of its subject-

matter      jurisdiction,    it    must     determine    whether    the    proposed

consent decree falls within its power to act.                   In its September

30, 2018 Memorandum Opinion and Order, the court determined that

Plaintiffs lacked standing as to their claims that HB142 created

uncertainty about which restrooms they were permitted to use, and

the court dismissed those claims for that reason.8                  (Doc. 248 at

21–31.)      However, the court determined that Plaintiffs did have

standing as to their claims against the Executive Branch Defendants

challenging HB142 §§ 2 and 3 on the grounds that the preemption

provisions of these sections — which allegedly eliminate the


8
   Plaintiffs failed        to    show    injury   in   fact,   traceability,   and
redressability.

                                           9



      Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 9 of 23
ability     of   transgender      individuals        to   advocate       for    anti-

discrimination      protections     in   the   state      agency   and    municipal

policy-making      process   —   constitute     a    violation     of    the    Equal

Protection Clause.       (Doc. 248 at 31–39.)             Intervenor-Defendants

argue     that   the   court’s    dismissal     of     Plaintiffs’       injury-by-

uncertainty claims for lack of standing deprives the court of

jurisdiction to enter a consent decree that would alleviate alleged

uncertainty      about   bathroom    access,        leaving    the      court    with

authority only to approve consent decree provisions that directly

remediate Plaintiffs’ alleged barrier-to-access injury.

       The Supreme Court has cautioned that “a federal court is more

than a recorder of contracts             from whom parties can purchase

injunctions; it is an organ of government constituted to make

judicial decisions.”         Local No. 93, 478 U.S. at 525 (internal

quotation marks omitted).           “Accordingly, a consent decree must

spring from and serve to resolve a dispute within the court's

subject-matter jurisdiction.”            Id.   The provisions of a consent

decree must fall within “the general scope of the case made by the

pleadings” and “further the objectives of the law upon which the

complaint was based.”         Id. (quoting Ketchum, 101 U.S. at 297).

“[I]n addition to the law which forms the basis of the claim, the

parties’ consent animates the legal force of a consent decree.”

Id.

       Here, the court is not persuaded that the relief requested by

                                         10



      Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 10 of 23
Plaintiffs and the Executive Branch Defendants falls outside its

jurisdiction to approve.           “[A] federal court is not necessarily

barred from entering a consent decree merely because the decree

provides broader relief than the court could have awarded after a

trial.”     Local No. 93, 478 U.S. at 525.             Moreover, courts have

found that even claims “not expressly set out in the pleadings”

can “fall within the[ pleadings’] general scope,” as long as they

are sufficiently related to the pleaded claims.              United States v.

Charles George Trucking, Inc., 34 F.3d 1081, 1090 (1st Cir. 1994).

      Intervenor-Defendants point out that the first two paragraphs

of   the    proposed     consent    decree     directly    address   potential

application of HB142 § 2 as a basis for blocking transgender

individuals’       use   of   public   facilities    matching   their     gender

identity, or prosecuting them for such use, as opposed to the

inability     to     meaningfully      advocate      for   non-discrimination

protections at the local government and state agency levels.

Intervenor-Defendants         therefore      trace   the   lineage   of   these

provisions to Plaintiffs’ failed attempt to establish an injury in

fact based on alleged uncertainty about which restrooms they were

able to use.

      As noted above, however, it is sufficient if the provisions

of a consent decree relate to the pleaded claims; they need not be




                                        11



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 11 of 23
tailored to remedy only the pleaded injury in fact.9             Here, the

court found that Plaintiffs established standing to challenge

HB142 § 2 on equal protection grounds.        Plaintiffs contended that

the provision created “‘one rule for transgender individuals and

another    for   non-transgender      individuals’    because       the    UNC

Defendants are willing to regulate access to restrooms in one sense

[i.e., by labeling restrooms as for ‘men’ or ‘women’], but refuse

to regulate access to restrooms in the sense of clarifying which

restrooms transgender individuals are permitted to use.”                  (Doc.

248 at 43 (quoting Doc. 233 at 40).)           In dismissing this claim

under Rule 12(b)(6), the court found that Plaintiffs “failed to

plausibly plead that the preemption of regulation of access to

multiple occupancy restrooms, showers, or changing facilities in

Section   2   impacts   them   disproportionately”      in   part    because

“[n]othing in the language of Section 2 can be construed to prevent



9
  Intervenor-Defendants have not offered a single case in which a court
found that it lacked subject-matter jurisdiction to enter a proposed
consent decree because its terms were not precisely tailored to reach
the properly-alleged injury (and only the properly-alleged injury).
Although Intervenor-Defendants quote from League of United Latin Am.
Citizens, Council No. 4434 v. Clements, 999 F.2d 831 (5th Cir. 1993) (en
banc) (“LULAC”) to the effect that “any federal decree must be a tailored
remedial response to illegality,” see id. at 847, the LULAC court did
not make its statement in a context analogous to this one. The plaintiffs
in LULAC no longer had any claims left after the legal issues on appeal
were resolved, leading the court to the obvious conclusion that any sort
of “response to illegality” was practically impossible in such a case.
Id. (“We could not . . . remand [for entry of a consent decree] without
correcting the district court’s misapprehensions of law . . . and when
[that task] is done, there is no case.”). In the instant case, Plaintiffs
still have live claims that Defendants unconstitutionally discriminated
against them.

                                    12



    Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 12 of 23
transgender individuals from using the restrooms that align with

their gender identity.”            (Id. at 47, 49.)        It is this precise

observation,      arising    out   of   a   challenge   to      HB142   §   2   which

Plaintiffs had standing to bring, that Plaintiffs and the Executive

Branch Defendants now seek to memorialize in the consent decree.

       Intervenor-Defendants’        response to this           argument    is that

claims     ultimately     dismissed     for   failure      to     state     a   claim

definitionally cannot fall within “the general scope of the case

made by the pleadings,” Local No. 93, 478 U.S. at 525 (quoting

Ketchum, 101 U.S. at 297).              Under this reasoning, no proposed

consent decree in this case could address HB142 § 2 at all, given

the     court’s    Rule     12(b)(6)    dismissal     of     Plaintiffs’        equal

protection challenge to that provision.             But Intervenor-Defendants

cite no case applying such a rule, and courts do not consider “the

merits of the settled claims” in the consent decree jurisdiction

analysis.      Bragg, 248 F.3d at 299; see also id. at 299–300 (“As

long as [the plaintiff]’s claims were not clearly frivolous from

the face of the complaint, jurisdiction was proper, and a challenge

to the consent decree may not be made on a jurisdictional basis.”).

As one court aptly noted, “there may be some value for settlement

purposes even to substantive claims that [this court has] rejected,

because” — absent a settlement — the plaintiffs could exercise

“their rights of appeal and could persuade the [Court of Appeals]

that [this court] was wrong.”            In re New Motor Vehicles Canadian

                                         13



      Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 13 of 23
Export Antitrust Litig., 236 F.R.D. 53, 56 (D. Me. 2006).

      As a result, neither the court’s jurisdictional rejection of

Plaintiffs’ injury-by-uncertainty claims nor its Rule 12(b)(6)

dismissal of Plaintiffs’ equal protection challenge to HB142 § 2

vitiates its jurisdiction to enter the proposed consent decree.

      B.    Propriety of the Proposed Consent Decree

      Plaintiffs and the Executive Branch Defendants contend that

the proposed consent decree meets the standard of “fair, adequate,

and reasonable” and “not illegal, a product of collusion, or

against the public interest.”          North Carolina, 180 F.3d at 581

(quoting    Colorado,    937   F.2d   at   509).    Intervenor-Defendants

disagree.

      “In considering the fairness and adequacy of a proposed

settlement, the court must assess the strength of the plaintiff’s

case.”     Id.   “In particular, the court should consider the extent

of discovery that has taken place, the stage of the proceedings,

the want of collusion in the settlement and the experience of

plaintiffs’ counsel who negotiated the settlement.”          Id. (internal

quotation marks omitted).       “[P]rior to approving a consent decree

a court must satisfy itself of the settlement’s overall fairness

to   beneficiaries    and   consistency     with   the   public   interest.”

Citizens for a Better Env’t v. Gorsuch, 718 F.2d 1117, 1126 (D.C.

Cir. 1983) (quoting United States v. Trucking Emp’rs, Inc., 561

F.2d 313, 317 (D.C. Cir. 1977)).       As noted above: in treating these

                                      14



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 14 of 23
factors, the court is “guided by the general principle that

settlements are encouraged.”        North Carolina, 180 F.3d at 581.

      Here, Plaintiffs’ litigation against the Executive Branch

Defendants    has   persisted    for   over   three   years   and   consumed

substantial party and public resources.           Despite this, the case

has not advanced beyond its pre-answer phase as to the Fourth

Amended Complaint.      Approval of the proposed consent decree would

resolve all claims against the Executive Branch Defendants, “avoid

the consumption of a significant [additional] amount of time and

expense by the parties, including the public fisc, and . . . allow

for the efficient use of judicial resources.”            W. Va. Highlands

Conservancy v. Pocahontas Land Corp., No. 2:13-cv-12500, 2015 WL

7736645, at *2 (S.D.W. Va. Nov. 30, 2015).10 By providing a vehicle

for resolving the claims between the settling parties as to the

remnants of a contentious challenge involving a matter that has

consumed significant state and judicial resources — and doing so

by adopting the plain meaning of HB142 § 2, which was passed by

the State legislature — the proposed consent decree is consistent

with the public interest.         See Gorsuch, 718 F.2d at 1126 (“Not

only the parties, but the general public as well, benefit from the


10
  While significant discovery can ensure that the court and parties have
properly evaluated the claims at issue, see Pocahontas Land Corp., 2015
WL 7736645, at *2, this case is unique in that, as the Fourth Amended
Complaint alleges in detail, most of the important facts on which this
case is based played out in the public spotlight.      Moreover, having
already issued multiple merits rulings in this case, the court is very
familiar with its background.

                                       15



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 15 of 23
saving of time and money that results from the voluntary settlement

of litigation.”).       The court has carefully tracked the development

of the proposed consent decree in its several iterations, required

supplemental briefing following dismissal of some of Plaintiffs’

claims, and held two hearings to address its propriety.                  In the

court’s view, the revised proposed consent decree reflects a

genuine   effort   to    address   the    concerns   raised   by   the    prior

versions.

     The court also observes that the parties have had the benefit

of excellent legal counsel.         Plaintiffs are well-represented by

several major nonprofit legal organizations (the American Civil

Liberties Union of North Carolina and Lambda Legal Defense and

Education Fund) and large, sophisticated law firms (Jenner & Block

LLP and Wiley Rein LLP). The Executive Branch Defendants are well-

represented by the North Carolina Department of Justice.            While it

may appear that Plaintiffs gain little from the proposed consent

decree, which affirms the court’s reasoning in dismissing their

HB142 § 2 equal protection claim, it is a fact that HB2 was repealed

during the pendency of the lawsuit, and Plaintiffs do obtain

partial resolution of this long-running lawsuit as well as the

Executive Branch Defendants’ agreement that the parties will pay

their own costs and attorneys’ fees.           The court cannot say that

this resolution fails to reflect the relative merit vel non of the

claims alleged in the Fourth Amended Complaint.

                                     16



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 16 of 23
     Intervenor-Defendants         contend     that      Plaintiffs          and     the

Executive Branch Defendants are not in reality opposed to each

other    and,   therefore,     that     any   proposed      consent      decree       is

necessarily collusive.         It is certainly true that, unlike their

immediate predecessors, the Executive Branch Defendants have shown

little interest in litigating this case.               They have not moved to

dismiss or attempted to answer the Fourth Amended Complaint in the

nearly two years since it was filed, nor did they evince any

support for Intervenor-Defendants’ attempts to obtain dismissal on

their behalf, despite the fact that — as the court’s ruling on

Intervenor-Defendants’ motion to dismiss explains — the majority

of Plaintiffs’ claims have been found to lack merit.                    Where there

has been little adversarial activity, a federal court must be

especially discerning when presented with a proposal in which

elected state officials seek to bind their successors as to a

matter about which there is substantial political disagreement.

See Horne v. Flores, 557 U.S. 433, 449 (2009) (noting that “public

officials    sometimes    consent       to,   or    refrain     from     vigorously

opposing, decrees that . . . bind state and local officials to the

policy    preferences     of    their     predecessors         and     may    thereby

improperly      deprive   future        officials      of      their     designated

legislative     and   executive    powers”         (internal    quotation          marks

omitted)).      Along these lines, Intervenor-Defendants also argue

that the proposed consent decree unduly circumscribes executive

                                        17



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 17 of 23
discretion (Doc. 292 at 2–3 & n.2 (citing Michael W. McConnell,

Why Hold Elections? — Using Consent Decrees to Insulate Policies

from Political Change, 1987 U. Chi. Legal F. 295, 301)), and thus

may result in permanent federal supervision of core state processes

by subjecting future North Carolina executive branch officials to

“a potentially continual round of court proceedings” on charges

that they violated the decree (Doc. 287 at 10).

      However, the proposed consent decree dismisses the Executive

Branch Defendants from the case having ceded nothing more than an

interpretation of HB142 § 2         faithful to its plain terms and

agreeable to all parties, including the Intervenor-Defendants.              In

its first paragraph, the proposed decree provides “that nothing in

Section 2 of H.B. 142 can be construed by the Executive Branch

Defendants [or their successors] to prevent transgender people

from lawfully using public facilities[11] in accordance with their

gender identity.”     (Doc. 294-1 at 5.)     In the second paragraph, it

provides that — as a natural consequence of the first paragraph —

the Executive Branch Defendants will not seek to apply HB142 § 2

to prohibit transgender individuals from using public facilities

in accordance with their gender identity or prosecute them for

such use, when that use is “otherwise lawful.”              (Id. at 5–6.)



11The proposed consent decree defines “public facilities” as “multiple
occupancy restrooms, showers, or changing facilities as referenced in
N.C.G.S. § 143-760 and sect. 2 of H.B. 142.” (Doc. 294-1 at 2.)


                                     18



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 18 of 23
These provisions follow directly from the fact that the sole

function of HB142 § 2 is to preempt regulation of access to public

facilities “except in accordance with an act of the General

Assembly.”     Thus, as the court previously concluded, there is

simply no plausible argument that HB142 § 2 itself serves as an

independent basis for regulating individuals at all.                  See (Doc.

248 at 29 (“HB142 does not regulate restroom access in any fashion

. . . .”),     38    n.20   (noting    that    “HB142    does   not    regulate

individuals”)).       Indeed, at the hearing on the present motion,

Intervenor-Defendants conceded they do not disagree with that

proposition.        (Doc. 287 at 7.)         In fact, they have previously

characterized any contrary argument as “mistaken.”              See (Doc. 241

at 4 (rejecting an argument that HB142 could be the basis for

barring transgender use of a bathroom, because “as a matter of law

HB 142 cannot serve as a ‘basis’ for any school district’s restroom

access policy”)).       It is therefore unpersuasive that legitimate

executive discretion will be preempted in any way by the proposed

consent decree.

     Intervenor-Defendants’           core     concern    regarding      future

executive discretion appears to be that the proposed consent decree

might be interpreted to go beyond HB142 to govern “how State

officers can apply trespass and other laws” in the future.                (Doc.

292 at 2.)      But such interpretation is foreclosed for several

reasons. As noted, the proposed decree does no more than establish

                                       19



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 19 of 23
an agreement to be bound by the plain language of HB142 § 2, which

the court and all parties accept as correct: that HB142 § 2 is

only a    preemption    of regulation     of access to certain public

facilities “except in accordance with an act of the General

Assembly.”    Because there is no legitimate interpretation of HB142

§ 2 that runs afoul of the terms of the consent decree, future

North Carolina executive branch officials should not suffer any

cabining of their policymaking authority.          The proposed decree by

its very terms is limited to HB142 and does not extend to the

application of state trespass law or any other law of the General

Assembly,12 and Plaintiffs and the Executive Branch Defendants

readily acknowledge that the proposed decree could not be read in

such a way.       See (Doc. 290 at 6 (Plaintiffs stating that the

proposed consent decree “does not affect the application of or

enforcement    of   laws   other   than   H.B.   142”));   (Doc.   291   at   4

(Executive Branch Defendants stating that the proposed decree

“addresses the Legislative Intervenors’ concern about hypothetical

interaction of the Consent Decree with . . . other penal laws,

including that of a criminal trespass,” because it only bars

prosecution    where   a   transgender    individual’s     bathroom   use     is

“otherwise lawful”)).       Indeed, the court would lack jurisdiction

to enter a consent decree that purported to limit the application


12
  Neither does the proposed consent decree extend to the application of
federal law.

                                     20



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 20 of 23
of laws other than HB142, because no complaint in this case ever

challenged any law other than HB142 or its defunct predecessor,

HB2.    Cf. (Doc. 248 at 29–30 (noting that the Fourth Amended

Complaint did not challenge laws other than HB142, and therefore

that relief from potential application of those other laws is

unavailable in this case)).          The    question whether any North

Carolina law other than HB142 could be applied to transgender

individuals   using   public    facilities    in   accordance    with     their

gender identity was never at issue in the Fourth Amended Complaint

and, under the proposed consent decree, remains open for another

day in another forum.      Thus, nothing in HB142 § 2 or the proposed

consent   decree    can    be   construed    to    authorize    or   prohibit

transgender use of public facilities, nor are the Executive Branch

Defendants    or   their   successors     prohibited    from    arguing    the

application of any other law of the General Assembly to such use.

       Intervenor-Defendants’ final argument is that the proposed

consent decree impinges on the North Carolina General Assembly’s

exclusive prerogative “to establish the permanent requirements of

North Carolina law.”        (Doc. 292 at 2.)         The court finds this

contention unpersuasive in the context of this case, where the

North Carolina legislature’s representatives have agreed that the

plain-text interpretation of HB142 § 2 set out by the court and

adopted in the proposed consent decree is the right one.             In fact,

they previously argued in favor of such an interpretation in their

                                     21



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 21 of 23
motion to dismiss the Fourth Amended Complaint.           See, e.g., (Doc.

225 at 2–4 (arguing that “HB142 does not regulate Plaintiffs”

because it “enacts no access . . . standards, has no enforcement

provision, makes no demands on private conduct, and carries no

penalties”)); (Doc. 241 at 4).        Moreover, nothing in the proposed

consent    decree   purports   to   limit   the   North   Carolina   General

Assembly’s ability to amend HB142 or pass any law it wishes,

including any law that — unlike HB142 — does regulate individuals’

access to public facilities.13

      Considering all of the above, the court is satisfied that the

proposed consent decree is “fair, adequate, and reasonable” and

not illegal, a product of undue collusion, or against the public

interest.    North Carolina, 180 F.3d at 581 (quoting Colorado, 937

F.2d at 509).       The proposed consent decree, which dismisses all

remaining claims against the Executive Branch Defendants with

prejudice, will be entered pursuant to Federal Rule of Civil

Procedure 54(b), the court finding no just reason for delay.




13Neither does the court find any issue with “enter[ing] a consent decree
on the effect of State law over the objection of Intervenors” merely
because Intervenor-Defendants “are independent state actors with their
own interest in the integrity of State law.” (Doc. 292 at 3). In fact,
it is precisely because the Executive Branch Defendants and Intervenor-
Defendants are “independent state actors” that Intervenor-Defendants
cannot “block the decree merely by withholding [their] consent,” Local
No. 93, 478 U.S. at 529; see id. at 528–29 (“It has never been supposed
that one party — whether an original party, a party that was joined
later, or an intervenor — could preclude other parties from settling
their own disputes and thereby withdrawing from litigation.”).

                                     22



     Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 22 of 23
III. CONCLUSION

    For the reasons stated,

    IT IS THEREFORE ORDERED that the Supplemental Joint Motion

for Entry of Consent Decree (Doc. 289) is GRANTED.          The proposed

consent decree will be entered contemporaneously with this order.



                                            /s/ Thomas D. Schroeder
                                        United States District Judge

July 22, 2019




                                   23



   Case 1:16-cv-00236-TDS-JEP Document 295 Filed 07/23/19 Page 23 of 23
